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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,

                                    Plaintiff,
v.                                                    Criminal No. 14-273 (SRN/LIB)

(1)DENIO JON DELCARO, and

(2)PAIGE LEE CALDWELL,

                                    Defendants.


                       ORDER FOR CONTINUANCE OF TRIAL


     This matter is before the Court upon the Motions for Continuance of Trial filed by

Defendants Denio Jon Delcaro [Doc. No. 34] and Paige Lee Caldwell [Doc. No. 36].

According to the Statements of Facts in Support of Exclusion of Time Under the Speedy

Trial Act [Docs. No. 35 and 37], the requests are due to the need for additional time to

review, discuss and address the voluminous discovery in this case, which dates back five

years. Both requests seek a trial date of not earlier than March 1, 2015. The defendants

both represent that the government has no objection to the request.

      Based on the grounds set forth in the supporting Statement of Facts in Support of

Exclusion of Time under Speedy Trial Act, the Court finds that the ends of justice served

by granting the continuance outweigh the best interests of the public and the defendant in

a speedy trial under 18 U.S.C. ' 3161(h)(7)(A).
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   Accordingly, IT IS HEREBY ORDERED that the trial of this case is continued to not

earlier than March 1, 2015. The time from the date of the filing of defendants’ motions to

exclude time (October 20, 2014) until March 1, 2015 shall be excluded from the

calculation of days within which trial must commence for each defendant pursuant to 18

U.S.C. § 3161(h)(7)(A). A date certain for trial will be set by separate order.


Dated: October 23, 2014                   BY THE COURT:


                                          s/Susan Richard Nelson
                                          SUSAN RICHARD NELSON
                                          United States District Court Judge




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